Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 1 of 26



                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                               (MIAMI DIVISION)


  JANE DOE,                                   CASE NO: 1:25-cv-20757-JB/Torres

        Plaintiff,

  v.

  STEVEN BONNELL II,

        Defendant.
  ______________________________________/


       PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING ORDER AND
                        PRELIMINARY INJUNCTION




                                       SANCHEZ-MEDINA, GONZALEZ,
                                       QUESADA,
                                       LAGE, GOMEZ & MACHADO, LLP
                                       CARLOS A. GARCIA PEREZ
                                       Florida Bar No. 106895
                                       201 Alhambra Circle, Suite 1205
                                       Coral Gables, Florida, 33134
                                       Tel.: (305) 377-1000
                                       Primary E-Mail: cgarciaperez@smgqlaw.com
                                       Secondary E-Mail: angie@smgqlaw.com

                                       JSP LAW, LLC
                                       Joan Schlump Peters (admitted pro hac vice)
                                       4819 W. Blvd. Ct.
                                       Naples, Florida 34103
                                       Tel.: 305-299-4759
                                       Email: petersjoan@bellsouth.net

                                       Counsel for Plaintiff
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 2 of 26

  DOE v BONNELL II
  Case No: 1:25-cv-20757-JB/Torres
  Page 2

                                       TABLE OF CONTENTS

                                                                                                  Page(s)

  INTRODUCTION……………………………………………………………………                                                            6

  STATEMENT OF FACTS……………………………………………………………                                                         6-14

  LEGAL STANDARD…………………………………………………………………                                                           14-15

  ARGUMENT …………………………………………………………………………                                                             15

  I.    PLAINTIFF IS ENTITLED TO INJUNCTIVE
        RELIEF………………………........................................................................     15

                A. Plaintiff is Likely to Prevail on the Merits of Her Claims……….                   15-19

                B. Plaintiff Will Be Irreparably Harmed if Defendant’s
                   Conduct is Not Enjoined…………………………………………                                          19-21

                C. The Balance of Equities Weighs Decisively in Favor of
                   Injunctive Relief………………………………………………….                                            21-22

                D. The Public Interest is Served by a Preliminary Injunction……….                    23

  II.   THE COURT SHOULD REQUIRE MINIMAL OR NO SECURITY……….                                         23-24

  CONCLUSION ………………………………………………………………………                                                            24-25
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 3 of 26

  DOE v BONNELL II
  Case No: 1:25-cv-20757-JB/Torres
  Page 3

                               TABLE OF AUTHORITIES


  CASES                                                                  Page(s)

        BellSouth News Serv. V. Forman, 606 F. Supp. 3d 1200, 1227
        (N.D. Fla. 2022) ……………………………………………………….                          23

        BellSouth Telecomms., Inc. v. MCImetro Access Transmission
        Servs., 425 F.3d 964, 970-71 (11th Cir. 2005)…………………………          23, 24

        Brecka, 2024 U.S. Dist. LEXIS 52864, at *8…………………………             22, 23

        Broadrick v. Gilroy, No. 24-1772, 2024 U.S. Dist. LEXIS
        204455, *2-3…………………………………………………………..                             20

        Cape Publications, Inc. v. Hitchner, 549 So. 2d 1374, 1377
        (Fla. 1989)…………………………………………………………….                              18

        Conradis v. Buonocore, 2021 U.S. Dist. LEXIS 177241, at *16………   17, 21, 22

        Courthouse News Serv. v. Forman, 606 F. Supp. 3d 1200, 1227
        (N.D. Fla. 2022)……………………………………………………….                           23

        Deerfield Med. Ctr. v. City of Deerfield Beach, 661 F.2d 328,
        338 (5th Cir. 1981)…………………………………………………….                         20

        Diaz v. Hernandez, No. 24-CV-81151-AMC, 2024 U.S. Dist.
        LEXIS 238107, *3-4, (S.D. Fla. Oct. 29, 2024)………………………           14, 15

        Diaz, 2024 U.S. Dist. LEXIS 238107, at *2…………………………..            19

        Diaz, 2024 U.S. Dist. LEXIS 238107, at *7…………………………..            16

        Diaz, 2024 U.S. Dist. LEXIS 238107, at *8…………………………..            20, 22

        Diaz, 2024 U.S. Dist. LEXIS 238107, at *9…………………………..            23

        Doe v. Alame, No. 3:25-CV-0329-B, 2025 U.S. Dist. LEXIS
        40559, at *12 (N.D. Tex. Feb. 24, 2025)………………………………              24

        Doe v. Constant, No. 24-554, 2024 U.S. Dist. LEXIS 130253,
        *10 (W.D. La. 2024)…………………………………………………..                         20

        Doe v. Sultan, No. 3:23-cv-00667-FDW-DCK, 2023 U.S. Dist.
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 4 of 26

  DOE v BONNELL II
  Case No: 1:25-cv-20757-JB/Torres
  Page 4

        LEXIS 191853 (W.D.N.C. Oct. 25, 2023)…………………………….                    21

        Doe v. Unknown Party, No. CV-24-00252-PHX-DLR, 2024
        U.S. Dist. LEXIS 21835 (D. Ariz. Feb. 7, 2024)…………………….              20, 21

        Doe, 2024 U.S. Dist. LEXIS 130253, *9 (finding likelihood
        of irreparable harm and granting preliminary injunction)……………        21

        Gegas v. St. Matthew’s Univ. Sch. of Med., 2023 U.S. Dist.
        LEXIS 176970, at *10 (M.D. Fla. Sep. 4, 2023)…………………….               15, 23

        Harms v. Miami Daily News, Inc., 127 So. 2d 715, 718
        (Fla. 3d DCA 1961)…………………………………………………..                              18

        Honeyfund.com Inc. v. Governor, 94 F.4th 1272, 1277
        (11th Cir. 2024)……………………………………………………….                               14

        Miami Beach Fed. Sav. & Loan Ass'n v. Callander, 256 F.2d
        410, 415 (5th Cir. 1958)………………………………………………                           15

        Molekule Grp., Inc. v. Aura Smart Air, Ltd., No. 23-81291-CIV-CAN,
        2023 U.S. Dist. LEXIS 232486, *13 (S.D. Fla. Oct. 11, 2023)………       15

        Ne. Fla. Chapter of Ass’n of Gen. Contractors v. Jacksonville,
        896 F.2d 1283, 1284, 1285 (11th Cir. 1990)………………………….                15, 20

        Roadget Bus. PTE. Ltd. v. Individuals, P'ship & Unincorporated
        Ass'ns, No. 24-cv-21516-(Williams/Goodman), 2024 U.S. Dist.
        LEXIS 165144, at *6 (S.D. Fla. June 28, 2024)………………………               15, 19

        Roadget, 2024 U.S. Dist. LEXIS 165144, at *7………………………                22

        Sapphire Consulting Servs. LLC v. Anderson, 2021 U.S. Dist.
        LEXIS 54101, at *16-17 (M.D. Fla. Feb. 12, 2021)………………….             24

        Schiavo ex rel. Schindler v. Schiavo, 403 F.3d 1223, 1225-26
        (11th Cir. 2005)……………………………………………………….                               14, 15

        Siegel v. LePore, 234 F.3d 1163, 1178 (11th Cir. 2000)………………         19

        Smith v. Volusia Cty., No. 6:11-cv-35-Orl-28GJK, 2011
        U.S. Dist. LEXIS 46479, 2011 WL 1598741, at *6
        (M.D. Fla. Apr. 28, 2011)……………………………………………..                         18
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 5 of 26

  DOE v BONNELL II
  Case No: 1:25-cv-20757-JB/Torres
  Page 5

        Tyne ex rel. Tyne v. Time Warner Entm't Co., L.P., 204
        F. Supp. 2d 1338, 1344 (M.D. Fla. 2002) (quoting Cape
        Publications, Inc. v. Hitchner, 549 So. 2d 1374, 1377
        (Fla. 1989))……………………………………………………………                         18

        Winter v. NRDC, Inc., 555 U.S. 7, 24 (2008)…………………………       22

        Zabriskie v. City of Kissimmee, No. 6:10-cv-70-Orl-19KRS,
        2010 U.S. Dist. LEXIS 105603, 2010 WL 3927658,
        at *3 (M.D. Fla. Oct. 4, 2010)………………………………………..             17

  STATUTES:

        CARDII, 15 U.S.C. §6851(b)(1)(A)…………………………………               16, 23

        CARDII, 15 U.S.C. §6851(b)(3)(A)……………………………………              23

        CARDII, 15 U.S.C. §6851(3)(A)(ii)…………………………………              16, 20

        Fla. Stat. § 540.08…………………………………………………….                    22

        Florida Statute, §784.049……………………………………………..                17

        Florida Statute, §784.049(2)(c)……………………………………….             17

        Florida Statute, §784.049(2)(d)……………………………………….             17

        Florida Statute, §784.049(3)………………………………………….               17

        Florida Statute, §784.049(5)………………………………………….               17

        Restatement (Second) of Torts § 652D cmt. …………………………        18


  RULES:
        Fed. R. Civ. P. 65(b)…………………………………………………..                  23
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 6 of 26

  DOE v BONNELL II
  Case No: 1:25-cv-20757-JB/Torres
  Page 6


  TO THE HONORABLE COURT:

          COMES NOW Plaintiff Jane Doe (“Plaintiff”), by and through her undersigned counsel,

  and respectfully states, prays and alleges as follows:

                                         INTRODUCTION

          Plaintiff hereby moves the Court for a temporary restraining order (“TRO”) and a

  preliminary injunction to i) enjoin Defendant Steven Bonnell II (“Bonnell”) from further sharing,

  distributing or publishing the intimate images/videos and/or the intimate information of Plaintiff;

  ii) compelling Bonnell to remove all publications of the Videos and of all messages between him

  and Plaintiff from all forms of public media he controls either directly or indirectly; iii) ordering

  Defendant to direct third parties in writing to remove all published intimate images/videos of

  Plaintiff and any intimate information regarding Plaintiff under their control; and iv) ordering

  Defendant to retrieve the messages he has deleted, to cease and desist from destroying evidence

  and to preserve all discoverable information relevant to this action from his phones, computers,

  tablets, online accounts and platforms, or any other devices, and preserve all internet routers or

  other hardware in their current form or image so they may be searched for information relevant

  to this action.

                                     STATEMENT OF FACTS

          Defendant Bonnell, a well-known live streamer and political commentator with millions

  of followers, induced Plaintiff to meet him at a hotel and engage in sexual relations while being

  videoed (the “Videos”), and then shared at least one of the Videos, if not more, without Plaintiff’s

  knowledge or consent. See Complaint, Dkt. 1, at ¶¶ 11, 12. Bonnell’s screen name is Destiny. Id.,
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 7 of 26

  DOE v BONNELL II
  Case No: 1:25-cv-20757-JB/Torres
  Page 7

  ¶ 8. Plaintiff, barely 20 years old, was a newcomer into the political streaming arena at the time

  she began communicating with Bonnell. Id., ¶ 10. Plaintiff’s screen name is Pxie. Id., ¶ 9.

         In February 2020, prior to meeting Bonnell at the hotel, Plaintiff expressed to him in a

  direct message her concerns for privacy: “[P]ublicly I’m okay with people knowing we’re

  hanging out but if anyone asks questions about having sex or anything along those lines I rather

  deny and keep that private between us.” See Plaintiff’s Declaration, Exhibit 1 hereto, at ¶ 4.

  Plaintiff also discussed her privacy concerns regarding their relations and the Videos directly with

  Bonnell when they met at the hotel. Id., ¶ 5. And this concern was again reiterated in March of

  2023, when a woman publicly alleged that Pxie had sexual relations with Destiny, whereupon

  Pxie messaged Destiny and asked him if he had told anyone about their relations. He denied

  telling anyone other than his wife. Id., ¶ 6. Pxie affirmed that, “No one knows either on my end

  (except my ex-bf).” Id.

                               ~ Bonnell’s Unauthorized Sharing of the Video

         As set forth in the Complaint, Defendant disseminated through electronic means one of

  the Videos (the “Video”) to an individual using the screen name Rose. Dkt. 1, ¶12. Rose was a

  random fan of Bonnell’s on his Discord platform that had reached out to him on Discord. Id.

  Bonnell had never met Rose. Id. Despite knowing nothing about Rose, not even her real name or

  her real age, Bonnell intentionally and with reckless disregard for Plaintiff, shared the Video with

  Rose without Plaintiff’s knowledge or consent. Id.

         Approximately two years later, on November 29, 2024, the sexually explicit Video of

  Plaintiff that Bonnell had shared with Rose was uploaded on to the website Kiwifarms. Id., ¶13.

  The Video was also shared on multiple other pornography websites including https://notfans.com,

  https://thothub.cam, pornbiz.com, epawg.com, and erome.com. Id. The caption on the Video on
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 8 of 26

  DOE v BONNELL II
  Case No: 1:25-cv-20757-JB/Torres
  Page 8

  the different platforms identify both “Destiny” and “Pxie”. Id. The Plaintiff’s face is visible and

  identifiable in the Video. Id. On this same date, there were a total of twenty-five (25) intimate

  videos of other individuals, including the Video of Pxie, that were published on various sites.

  Those 25 videos included videos of Bonnell’s ex-wife, Melina Goranson, who has publicly stated

  that      she       did       not      consent        to      their      being        shared.       See

  https://www.reddit.com/r/DGGsnark/comments/1hw6g92/melina_confirms_destiny_did_not_ha

  ve_consent_to/. They also included videos of another woman, Stasia, who uses the screen name

  curiosity killed the cacti. Stasia has come forward and confirmed that the videos were shared by

  Bonnell                   without                   her                  consent.                   See

  https://www.reddit.com/r/DGGsnark/comments/1ib8zl4/another_one_stasia_confirms_it_was_h

  er_in_one_of/.

          As of today’s date, the Video has been viewed on the notfans.com site over 10,000 times.

  Compl, ¶ 15. It has been viewed on the thothub.com site over 58,000 times. Id. It had at least as

  many views on other websites, but it has since been removed. Id. It is still on the Kiwifarms site,

  but the site does not have a number tracker so the number of views is unknown but estimated to

  be in the tens of thousands. Id. On erome there were over 10,000 views, but it has since been

  removed. Id.

          On the evening of November 29, 2024, Plaintiff sent a message to Bonnell on the Discord

  platform expressing her horror that he had shared the video of her. She asks him if he sent any

  additional pornographic Videos to anyone. He admits his guilt, responding: “Ughhhh there

  shouldn’t be no, I’m so sorry there’s literally no excuse, I’d had phone convos and stuff with this

  person they were fairly close to me, it’s worthless to say it at this point but I’m super sorry, there’s
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 9 of 26

  DOE v BONNELL II
  Case No: 1:25-cv-20757-JB/Torres
  Page 9

  literally no excuse.” Plaintiff then asks him to delete any and all Videos that he has of her. Id.,

  ¶16. See also Decl. Plf., ¶¶ 8-9.

         Bonnell also explicitly admitted in a direct message with a follower by the screen name

  Straighterade that he “distributed [the Video] non-consensually.” Bonnell goes on to say, “I don’t

  really care much about the legal side of it or whatever, obviously I have severely (at the very least,

  psychologically) damaged [Pxie]…” See https://imgur.com/a/ZddOgeP, at time stamp 1:54 am

  and 1:55 a.m.1

         Although Bonnell has only explicitly admitted to sending the Video to Rose, he has

  intentionally and recklessly shared the Video with others as well, without Plaintiff’s knowledge

  or consent, even after the Video was published on the pornography sites, and after his alleged

  remorse. Indeed, on or about January 9, 2025, Bonnell was communicating with one of his fans,

  Hannah Brooke, on the Discord platform and offered to send her the Video. See Decl. Brooke,

  Exhibit 2 hereto. Also in January 2025, one of Plaintiff’s followers informed her that Bonnell had

  sent the Video to the follower’s sister about two months earlier. See Decl. Plf., Exh. 1, at ¶ 10.

         The evidence presented here of Bonnell’s non-consensual sharing of the Video is quite

  possibly only the tip of the iceberg. Based on the November 29 leak of 25 videos that Bonnell




  1
    This chat thread was published by Destiny in one of his online statements about the
  dissemination of the Video. See
  https://www.reddit.com/r/Destiny/comments/1i645qz/legal_arc_beginning_in_mysterious_ways
  _such_wow/ (see 8th paragraph commencing with “A few hours later, I messaged a mutual friend,
  Straighterade, who I knew to be particularly close to Pxie. We tried to figure out the best way
  forward in terms of making things right (or as right as they could be) for Pxie. In that conversation
  we spoke about things I could do to alleviate the toll on Pxie’s mental health.” The word
  “conversation” is the link to the chat thread, part of which is set forth above.
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 10 of 26

   DOE v BONNELL II
   Case No: 1:25-cv-20757-JB/Torres
   Page 10

   had shared non-consensually, as well as his history of non-consensual sharing, infra, there is a

   strong likelihood that he shared the Videos with other people.

                        ~ Bonnell’s Publication of Plaintiff’s Private Messages

          Before Plaintiff and Bonnell met in person for the first time, they exchanged extensive

   direct messages with each other, many of a sexual intimate nature. See Decl. Plf., ¶ 12. On or

   about, February 19, 2025, Destiny live-streamed to his tens of thousands of followers on his

   Youtube platform his “statement” about the events concerning the dissemination of the Video.

   See           https://drive.google.com/file/d/1eyDdBE1AWdSSg4ury6Bomk1Mxyrh2uhF/view.

   Commencing at minute 53 of the recording, Bonnell tells his followers intimate sexual details

   about Plaintiff that she had shared with him through the private messages (“Private Messages”).

   He even posts screen shots of different message threads with the Private Messages between him

   and Plaintiff containing explicit sexual details. Plaintiff had an expectation of privacy in her

   Private Messages with Bonnell about her sexual experiences, that were never intended to be

   shared with anyone else, let alone tens of thousands of people. See Decl. Plf., ¶ 12.

                                 ~ Plaintiff’s Severe Emotional Distress

          The Defendant’s sharing of the Video and publication of the Private Messages has caused

   Plaintiff extreme emotional distress. See Plf. Decl., Exh. 1, at ¶¶ 14-15. Plaintiff has suffered from

   depression, suicidal ideation, recurring nightmares, humiliation and anxiety. Id. The humiliation

   is enduring because the Video and the Private Messages have been and still are available to the

   public. Plaintiff believes that their existence and accessibility have, and will continue to, tarnish

   her reputation, both personal and professional. Id. She lives in constant fear that people she

   encounters have seen the Video of her, and consequently she has become very reclusive. Id. She

   is also highly fearful that Destiny still has the Videos and will continue to share them. Id. This
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 11 of 26

   DOE v BONNELL II
   Case No: 1:25-cv-20757-JB/Torres
   Page 11

   emotional distress is solely attributable to Destiny’s non-consensual sharing of the Video and the

   Private Messages.

                        ~ Bonnell’s Pattern of Behavior of Recklessly Sharing
                              Intimate Images Without Authorization

          In or around the end of January, 2025, approximately fifteen women reached out to

   Plaintiff to tell her that they had received sexually explicit images from Bonnell of other women

   without the other women’s consent. See Plff’s Decl., Exh. 1, ¶ 16. Numerous women, including

   Bonnell’s ex-wife Melina Göransson, and Stasia (screen name; aka “curiosity killed the cacti”),

   have recently come forward and publicly alleged that Bonnell has shared sexually explicit videos

   of        them         without          their        consent.        Id.         See,        e.g.,

   https://www.reddit.com/r/DGGsnark/comments/1hw6g92/melina_confirms_destiny_did_not_ha

   ve_consent_to/; https://ghostarchive.org/archive/vr6sJ.    These images were then posted on

   different pornography websites without their consent. See Plf’s Decl., ¶ 16.

          On January 20, 2025, a woman with the screen name Chaeiry, posted on X that she had

   just found out that Bonnell had secretly made an unauthorized audio recording of their sexual

   interaction, and then had shared it with other people without her knowledge or consent. See

   https://x.com/itschaeiry/status/1881506268445327740. On January 22, 2025, Chaeiry posted on

   X that she filed a police complaint about Bonnell’s unauthorized recording and sharing and that

   she is very worried about harassment. See https://x.com/itschaeiry/status/1882285334236475678

          On or about January 24, 2025, a political streamer by the screen name of Denims speaks

   on her forum about Bonnell’s sharing of the Video. She informs her followers that

   Destiny/Bonnell had recorded a sexually intimate conversation with her without her knowledge

   or consent. She alleges that after their personal relationship deteriorated, he became publicly
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 12 of 26

   DOE v BONNELL II
   Case No: 1:25-cv-20757-JB/Torres
   Page 12

   hostile towards her. And then later he posted to his followers that he has the recording and that

   he “could” publish it. See https://rustlesearch.dev/surrounds?channel=Destinygg&date=2025-01-

   27T01%3A15%3A56.141Z&username=destiny.

               ~ Bonnell’s Retaliation Against Plaintiff and Other Women Who Dare to
               Go Public About His Illicit and Unauthorized Sharing of Intimate Images

           Bonnell has publicly retaliated against Plaintiff for going public about his unauthorized

   sharing of the Videos. On or about January 23, 2025, Bonnell begins a smear campaign against

   Plaintiff and tells his followers that Plaintiff is only interested in getting money from him. Bonnell

   posts in one of his “DGG” community group chats, involving multiple people, that Plaintiff/Pxie

   is just after his money. See Decl. Plf., ¶ 11.               Bonnell also posts on his website,

   https://www.destiny.gg, and in his “DGG Chat,” that “Pxie and the people behind her just want

   money, so there’s no point in going after the hacker, he’s probably some broke loser anyway, so

   they aren’t even mentioning him.” Id. Over 1,000 people have potentially viewed this defamatory

   post.

           On or about February 8, 2025, Bonnell posts on X that he agrees with another post that

   claims that Plaintiff is “extorting” him. Id. On or about February 9, 2025, Bonnell makes another

   defamatory post on X again telling his followers that Plaintiff only cares about getting money

   from him. He also informs all of his followers that the Video can still be seen on Kiwifarms. Id.

   The     post    has     over     one     million     views      as    of    this    date.         See

   https://x.com/TheOmniLiberal/status/1888633852253401563. Thus, on February 9, 2025,

   Bonnell once again shared the Video, this time with all of his followers.

           On February 21, 2025, Bonnell tells his entire Discord community that Pxie was dating

   her supervisor at her prior job and that the supervisor was “like 25 years older than her.” See
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 13 of 26

   DOE v BONNELL II
   Case No: 1:25-cv-20757-JB/Torres
   Page 13

   https://rustlesearch.dev/surrounds?channel=Destinygg&date=2025-02-

   21T19%3A29%3A01.151Z&username=destiny. This was a deliberate untruth meant only to

   harass Plaintiff and retaliate against her for initiating this action. Plaintiff had told Bonnell that

   she dated this man briefly but it had ended prior to his starting work at the company. There was

   no reason for Bonnell to believe that the man was ever her supervisor or that he was 25 years

   older than her, because he was not. See Decl. Plf, ¶ 13.

          Bonnell has retaliated against Chaeiry by publicly posting his private messages with her

   during a time when she was suffering a mental health crisis. See Compl., ¶ 31. And on February

   9, 2025, Bonnell retaliated against Denims by posting private sexual text messages between them

   to his community chat group.

                              ~ Bonnell’s Wanton Destruction of Evidence

          On January 23, 2025, counsel for Plaintiff sent a letter via messenger to Bonnell advising

   him of the impending legal action and demanding that he preserve all evidence, including

   electronically stored information (ESI) in compliance with the law. See Letter, Exhibit 3. Instead

   of preserving evidence however, Bonnell has been systematically deleting and destroying

   evidence. Indeed, on January 30, 2025, Destiny/Bonnell admits that he has been actively deleting

   evidence of his wrongdoing, specifically his messages with multiple women who have claimed

   that   he   shared   sex    videos    with   them    without    the   participant’s   consent.    See

   https://rustlesearch.dev/surrounds?channel=Destinygg&date=2025-01-

   30T21%3A33%3A27.826Z&username=destiny.

          And as early as January 21, 2025, aware of the impending lawsuit and potential criminal

   investigation, Bonnell starts destroying evidence, including deleting messages between him and

   Plaintiff. See Decl. Plf., ¶ 17. See also, https://imgur.com/9U81Pfg.        This is a link to a chat
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 14 of 26

   DOE v BONNELL II
   Case No: 1:25-cv-20757-JB/Torres
   Page 14

   thread on X between Pxie and Destiny on December 12, 2024 where it shows Pxie’s messages

   and instead of Destiny’s responses it now shows “Original message was deleted.”

           Bonnell deleted his messages with Hannah Brooke in early February 2025 in an attempt

   to cover up his offer to Brooke to send her the Video. See Decl. Brooke, Exh. 2. Almost all of the

   women who informed Plaintiff in late January that they had received sexually explicit images

   from Bonnell of other women without the other women’s consent (see above), also tell Plaintiff

   that Bonnell deleted their chat threads after January 23, 2025. See Decl. Plf., ¶ 18.

           A streamer by the name of Ahsoka Bun-o messaged Plaintiff recently and informed her

   that Bonnell had deleted all messages between them regarding his non-consensual sharing of

   videos: “I had messaged destiny in the past and was sent videos of him with women. I didn’t

   recognize any of the people in the videos bar one that seems to have included Melina [Destiny’s

   ex-wife], but I assumed it was consensual. I don’t know if it helps at all but some proof I did

   converse    with    him     and    that    now    there’s    no    messages.”     Id.,¶19.    See    also

   https://imgur.com/CtBX1Oi. In February, Bonnell also deleted all of his direct messages with a

   follower by the screen name of psykodynamic, with whom he had shared videos of other women

   without their consent. See https://imgur.com/lZcLl0E.

                                             LEGAL STANDARD

           A court may enter a preliminary injunction or a TRO. Fed. R. Civ. P. 65(b). The same

   four factors govern whether to grant either order. Schiavo ex rel. Schindler v. Schiavo, 403 F.3d

   1223, 1225-26 (11th Cir. 2005). Those factors are "(1) a substantial likelihood of success on the

   merits; (2) that irreparable injury will be suffered if the relief is not granted; (3) that the threatened

   injury outweighs the harm the relief would inflict on the non-movant; and (4) that entry of the
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 15 of 26

   DOE v BONNELL II
   Case No: 1:25-cv-20757-JB/Torres
   Page 15

   relief would serve the public interest." Id. See also, Honeyfund.com Inc. v. Governor, 94 F.4th

   1272, 1277 (11th Cir. 2024).

          "The chief function of a preliminary injunction is to preserve the status quo until the merits

   of the controversy can be fully and fairly adjudicated." Diaz v. Hernandez, No. 24-CV-81151-

   AMC, 2024 U.S. Dist. LEXIS 238107, *3-4, (S.D. Fla. Oct. 29, 2024) (quoting Ne. Fl. Chapter

   of Ass'n of Gen. Contractors of Am. v. City of Jacksonville, 896 F.2d 1283, 1284 (11th Cir. 1990)).

   A preliminary injunction, however, becomes a mandatory or affirmative injunction when it goes

   beyond preservation of the status quo and seeks to force one party to act. Id. at *4. "When a

   plaintiff applies for a mandatory preliminary injunction, such relief 'should not be granted except

   in rare instances in which the facts and law are clearly in favor of the moving party.'" Id. (quoting

   Miami Beach Fed. Sav. & Loan Ass'n v. Callander, 256 F.2d 410, 415 (5th Cir. 1958)).

                                             ARGUMENT

                  I.      PLAINTIFF IS ENTITLED TO INJUNCTIVE RELIEF

          As further detailed below, Plaintiff meets all four conditions for injunctive relief and is

   thus entitled to have a temporary restraining order entered pending the issuance of a preliminary

   injunction.

                       A. Plaintiff is Likely to Prevail on the Merits of Her Claims.

          Substantial likelihood of success on the merits can be established by making a prima facie

   showing of the elements of one or more of the movant’s substantive claims, Roadget Bus. PTE.

   Ltd. v. Individuals, 2024 U.S. Dist. LEXIS 165144, at *6 (S.D. Fla. June 28, 2024), and “requires

   a showing of only likely or probable, rather than certain success.” See Molekule Grp., Inc. v. Aura

   Smart Air, Ltd., No. 23-81291- CIV-CAN, 2023 U.S. Dist. LEXIS 232486, *13 (S.D. Fla. Oct.

   11, 2023) (quoting Schiavo ex rel. Schindler v. Schiavo, 403 F.3d 1223, 1232 (11th Cir. 2005)).
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 16 of 26

   DOE v BONNELL II
   Case No: 1:25-cv-20757-JB/Torres
   Page 16

   The “plaintiff need only demonstrate the likelihood of prevailing on one cause of action.” Gegas

   v. St. Matthew’s Univ. Sch. of Med., 2023 U.S. Dist. LEXIS 176970, at *10 (M.D. Fla. Sep. 4,

   2023). Likelihood of success on the merits “‘generally is the most important’ of the four” factors.

   See Molekule Grp., Inc., 2023 U.S. Dist. LEXIS 232486, *13 (quoting Schiavo, 403 F.3d at 1232).

              ~ Plaintiff has Made a Prima Facie Showing of the Elements of 15 U.S.C. § 6851

          Federal law provides Plaintiff significant relief against Defendant for his non-consensual

   sharing of her intimate images. Pursuant to the Civil Action Relating to the Disclosure of Intimate

   Images (“CARDII”), 15 U.S.C. §6851(b)(1)(A) the elements of a claim are: (1) an intimate visual

   depiction, (2) disclosure in interstate or foreign commerce, (3) nonconsensual disclosure, and (4)

   disclosure by the defendant. 15 U.S.C. § 6851(b)(1)(A). Further, 15 U.S.C. § 6851(3)(A)(ii)

   expressly authorizes the Court to enter a “temporary restraining order, a preliminary injunction,

   or a permanent injunction ordering the defendant to cease display or disclosure of the visual

   depiction.”

              Here, as detailed above, Defendant has expressly admitted in writing that he shared the

   Video with Rose without Plaintiff’s consent, and that “there’s literally no excuse.” Dkt. 1, ¶ 16.

   There is also evidence that he recently offered to share the Video with Hannah Brookes, and that

   he recently informed all of his followers that they could watch the Video on the Kiwifarms site.

   See ante. The Video was also disclosed in interstate commerce on various pornographic

   platforms. The sexually explicit Video identifies Plaintiff by showing her face and using her

   screen name.2 Thus this is an undisputed violation of 15 U.S.C. § 6851(b)(1)(A), and Plaintiff is

   more than likely to succeed on the merits of her CARDII claim. See Diaz, No. 24-CV-81151-



   2
       Counsel can provide the Video to the Court under seal upon request.
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 17 of 26

   DOE v BONNELL II
   Case No: 1:25-cv-20757-JB/Torres
   Page 17

   AMC, 2024 U.S. Dist. LEXIS 238107, *7 (granting motion for preliminary injunction where

   plaintiff showed a substantial likelihood of success on her CARDII claim since “the record

   evidence strongly suggests that Defendant knew, or at least recklessly disregarded, that Plaintiff

   did not consent to the publication of the video…”).

                  ~ Plaintiff has Made a Prima Facie Showing of the Elements of
                                          Florida Statute § 784.049

          Section 784.049 of Florida Statutes criminalizes "sexual cyberharassment." Fla. Stat. §

   784.049(3). It also provides victims a private right of action against the person who violated the

   statute. Id. § 784.049(5). Sexual cyberharassment is defined as:

          Publish[ing] to an Internet website or disseminate through electronic means to
          another person a sexually explicit image of a person that contains or conveys the
          personal identification information of the depicted person without the depicted
          person's consent, contrary to the depicted person's reasonable expectation that the
          image would remain private, for no legitimate purpose, with the intent of causing
          substantial emotional distress to the depicted person.

          Fla. Stat. § 784.049(2)(c). A sexually explicit image includes any image depicting nudity

   or a person engaging in sexual conduct. Id. § 784.049(2)(d). There is no question that the Video

   is a sexually explicit image that was disseminated by Bonnell through electronic means and then

   published to the internet without Plaintiffs' consent and in violation of her expectation that the

   Video would remain private, and for no legitimate purpose. Accordingly, Plaintiff is more than

   likely to succeed on the merits of her claim for violation of Florida Statute §784.049.

                  ~ Plaintiff has Made a Prima Facie Showing of the Elements of
                               Intentional Infliction of Emotional Distress

          To state a claim for intentional infliction of emotional distress ("IIED") under Florida law,

   a plaintiff must allege "(1) extreme and outrageous conduct; (2) an intent to cause, or reckless

   disregard to the probability of causing emotional distress; (3) severe emotional distress suffered
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 18 of 26

   DOE v BONNELL II
   Case No: 1:25-cv-20757-JB/Torres
   Page 18

   by the plaintiff; and (4) proof that the conduct caused the severe emotional distress." Zabriskie v.

   City of Kissimmee, No. 6:10-cv-70-Orl-19KRS, 2010 U.S. Dist. LEXIS 105603, 2010 WL

   3927658, at *3 (M.D. Fla. Oct. 4, 2010) (citations omitted). See also Conradis v. Buonocore, No.

   6:18-cv-1486-EJK, 2021 U.S. Dist. LEXIS 177241, at *11-14 (M.D. Fla. Sep. 17, 2021).

           Bonnell’s non-consensual sharing of the Video, which he continued to share even after its

   November 2024 publication on the internet and despite his awareness and acknowledgement of

   Plaintiff’s extreme emotional distress, constitutes extreme and outrageous conduct. Bonnell

   intentionally shared the Video with a reckless disregard of the likelihood that he would cause

   Plaintiff emotional distress. Plaintiff’s Declaration, Exhibit 1, details the extreme emotional

   distress she has suffered as a direct result of Bonnell’s outrageous conduct. Moreover, Bonnell

   specifically   admitted    that    he   caused     Plaintiff   extreme    emotional     distress.   See

   https://imgur.com/a/ZddOgeP, at time stamp 1:54 am and 1:55 a.m, and FN. 1, ante. Thus,

   Plaintiff has demonstrated a likelihood of success on the merits of her IIED claim.

         ~ Plaintiff has Made a Prima Facie Showing of the Elements of Invasion of Privacy

           To state a claim for invasion of privacy by publication, i.e., "disclosure of private facts,"

   Plaintiff must show "(1) the publication, (2) of private facts, (3) that are offensive, and (4) are not

   of public concern." Tyne ex rel. Tyne v. Time Warner Entm't Co., L.P., 204 F. Supp. 2d 1338,

   1344 (M.D. Fla. 2002) (quoting Cape Publications, Inc. v. Hitchner, 549 So. 2d 1374, 1377 (Fla.

   1989)). "In determining the extent of the right of privacy, the standard by which the right is

   measured is based upon a concept of the man of reasonable sensibility." Harms v. Miami Daily

   News, Inc., 127 So. 2d 715, 718 (Fla. 3d DCA 1961). "The 'offensiveness' element is satisfied if

   'the publicity given to [the plaintiff] is such that a reasonable person would feel justified in feeling

   seriously aggrieved by it.'" Smith v. Volusia Cty., No. 6:11-cv-35-Orl-28GJK, 2011 U.S. Dist.
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 19 of 26

   DOE v BONNELL II
   Case No: 1:25-cv-20757-JB/Torres
   Page 19

   LEXIS 46479, 2011 WL 1598741, at *6 (M.D. Fla. Apr. 28, 2011)(quoting Restatement (Second)

   of Torts § 652D cmt. c (1977)) (brackets in original).

          It is shocking to the conscience that Defendant disseminated the Video and the Private

   Messages, and such conduct is not tolerated by a decent society. Defendant knew that the Video

   and the Private Messages were no one else’s business and meant to remain private. Plaintiff has

   shown that i) Bonnell disseminated the Video to at least one person, offered to share it with

   another, and informed all of his followers where they could watch it; ii) the Video was published

   on the internet and seen by tens of thousands; iii) the Video is sexually explicit and thus offensive;

   iv) Bonnell published to all of his followers on Youtube the Private Messages between him and

   Plaintiff containing facts of an intimate nature; v) the Videos, and the Private Messages, were

   taken/exchanged with the intention for private use and not for dissemination; and vi) the Videos

   and Private Messages are not a matter of public concern and are offensive.

           Certainly a reasonable person would not expect images and messages of this nature to be

   callously disseminated and distributed on the internet. Thus, they do amount to private facts.

   Moreover, a reasonable person would be justified in feeling aggrieved by the dissemination and

   publication of sexually explicit images of herself on the internet without her permission.

   Accordingly, Plaintiff is likely to succeed on the merits of her claim for invasion of privacy. See

   Diaz, No. 24-81151-CIV-CAN, 2024 U.S. Dist. LEXIS 238107, at *2)(granting preliminary

   injunction where “the sexually explicit video severely injures Plaintiff's right to privacy”).

      B. Plaintiff Will Be Irreparably Harmed if Defendant’s Conduct is Not Enjoined.

          Irreparable harm is established by demonstrating that the type of injury that would befall

   the movant in the absence of the injunctive relief is the type which cannot be undone by monetary

   remedies. See Roadget Bus. PTE. Ltd. v. Individuals, P'ship & Unincorporated Ass'ns, No. 24-
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 20 of 26

   DOE v BONNELL II
   Case No: 1:25-cv-20757-JB/Torres
   Page 20

   cv-21516-(Williams/Goodman), 2024 U.S. Dist. LEXIS 165144, at *6 (S.D. Fla. June 28, 2024).

   The Eleventh Circuit has stated that an ongoing violation of the right to privacy presumptively

   constitutes an irreparable injury. See, e.g., Siegel v. LePore, 234 F.3d 1163, 1178 (11th Cir. 2000)

   (“The only areas of constitutional jurisprudence where we have said that an on-going violation

   may be presumed to cause irreparable injury involve the right of privacy…”); Ne. Fla. Chapter

   of Ass’n of Gen. Contractors v. Jacksonville, 896 F.2d 1283, 1285 (11th Cir. 1990) (same);

   Deerfield Med. Ctr. v. City of Deerfield Beach, 661 F.2d 328, 338 (5th Cir. 1981) (finding that an

   alleged ongoing violation of plaintiff's right to privacy supports a showing of irreparable harm).

   Since the claims here concern the right to privacy, there is presumptively an irreparable injury,

   which is further confirmed by Plaintiff’s declaration.

          Furthermore, the CARDII statute specifically provides that it entitles victims to injunctive

   relief: “the court may, in addition to any other relief available at law, order equitable relief,

   including a temporary restraining order, a preliminary injunction, or a permanent injunction

   ordering the defendant to cease display or disclosure of the visual depiction.” 15 U.S.C. §

   6851(b)(3)(A)(ii). The risk of irreparable harm to victims of non-consensual disclosure is so great

   that Congress baked injunctive relief into the CARDII statute.

          Harms such as emotional distress, are harms which lack an adequate legal remedy. See

   Doe v. Unknown Party, No. CV-24-00252-PHX-DLR, 2024 U.S. Dist. LEXIS 21835, at *6-7 (D.

   Ariz. Feb. 7, 2024)(“Plaintiffs have shown the imminent risk of further nonconsensual disclosures

   of intimate visual depictions of herself and humiliation from the same”). As found in this District

   Court, there is a multitude of harm suffered by a plaintiff in a 15 U.S.C. § 6851 matter, including

   “public shame and humiliation, an inability to find new romantic partners, mental health effects

   such as depression and anxiety, job loss or problems securing new employment, and offline
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 21 of 26

   DOE v BONNELL II
   Case No: 1:25-cv-20757-JB/Torres
   Page 21

   harassment and stalking.’” Diaz, 2024 U.S. Dist. LEXIS 238107, at *8 (quoting Doe v. Constant,

   No. 24-554, 2024 U.S. Dist. LEXIS 130253, *10 (W.D. La. 2024)). See also Broadrick v. Gilroy,

   No. 24-1772, 2024 U.S. Dist. LEXIS 204455, *2-3 (granting temporary restraining order on a 15

   U.S.C. § 6851 claim upon finding that “without a TRO the harm that [plaintiff] is suffering and

   is likely to continue suffering would not be addressed by legal remedies, and instead would be

   irreparable and difficult to quantify and ascertain’); Conradis, 2021 U.S. Dist. LEXIS 177241, at

   *16 (emotional damage from dissemination of nude photographs on the internet constituted an

   irreparable harm); Doe v. Unknown Party, No. CV-24-00252-PHX-DLR, 2024 U.S. Dist. LEXIS

   21835 (D. Ariz. Feb. 7, 2024) (ex parte preliminary injunction granted under 15 U.S.C. § 6851

   based on irreparable harm); Doe v. Sultan, No. 3:23- cv-00667-FDW-DCK, 2023 U.S. Dist.

   LEXIS 191853 (W.D.N.C. Oct. 25, 2023) (preliminary injunction granted under 15 U.S.C. §

   6851).

            Plaintiff has demonstrated an imminent risk of further nonconsensual disclosures of

   intimate images of herself by Bonnell and further humiliation from the same. To wit, there is

   evidence that Bonnell offered to share the Video even after the November 29, 2024 publication,

   and that Bonnell has a history of sharing intimate images non-consensually. See Brookes Decl.,

   Exh. 2; Plf’s Decl., Exh. 1. “This behavior … tends to show that Defendant poses an imminent

   risk of dissemination of Plaintiff’s intimate visual depictions.” Doe, 2024 U.S. Dist. LEXIS

   130253,*9 (finding likelihood of irreparable harm and granting preliminary injunction).

            It is difficult to precisely value Plaintiff’s right to not have pornographic Videos of her

   and her Private Messages randomly disseminated and posted online. Further, it is remarkably

   difficult to remove images from the internet and no amount of money can ever repay the damage

   to Plaintiff’s sense of privacy and trust. Indeed, the inability to ever truly scrub this content from
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 22 of 26

   DOE v BONNELL II
   Case No: 1:25-cv-20757-JB/Torres
   Page 22

   the internet demonstrates how this is an irreparable harm that compounds each day. As such,

   injunctive relief is required to prevent this irreparable harm.

       C. The Balance of Equities Weighs Decisively in Favor of Injunctive Relief.

           The third element requires the Court to “balance the competing claims of injury and . . .

   consider the effect on each party of the granting or withholding of the requested relief.” Roadget,

   2024 U.S. Dist. LEXIS 165144, at *7 (quoting Winter v. NRDC, Inc., 555 U.S. 7, 24 (2008))

   (internal quotations omitted). In balancing the equities, the Court weighs the benefits and harm

   to each party in granting the injunctive relief. Here, it is minimally disruptive for the Defendant

   to refrain from violating state and federal law, including 15 U.S.C. § 6851, Fla. Stat. § 540.08,

   and the common law right of privacy, by disseminating the Videos and private Messages of

   Plaintiff without Plaintiff’s authorization. The only party at risk in this matter is the Plaintiff.

           If the motion is denied, Plaintiff would have to live in constant fear that Defendant would

   continue disseminating Plaintiff’s intimate visual depictions and private information. The equities

   are completely one sided in this action, tipping entirely in favor of Plaintiff. See Diaz, 2024 U.S.

   Dist. LEXIS 238107, at *8 (“Plaintiff continues to suffer these consequences each day, while

   Defendant faces no discernable burden from an order prohibiting publication of sexually explicit

   videos of Plaintiff.”).

           If a TRO is granted, Plaintiff would receive warranted and necessary protection of her

   privacy, safety, dignity, and images for the pendency of this proceeding. See, e.g., Conradis, 2021

   U.S. LEXIS 177241, at *16 (holding that there is no burden to enjoining defendant from posting

   nude images of plaintiff and so the equities weigh in favor of the plaintiff); Brecka v. Individuals,

   No. 0:24-CV-60162-WPD, 2024 U.S. Dist. LEXIS 52864, at *8 (S.D. Fla. Feb. 16, 2024)

   (granting preliminary injunction based on alleged violations of Fla. Stat. § 540.08 and common
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 23 of 26

   DOE v BONNELL II
   Case No: 1:25-cv-20757-JB/Torres
   Page 23

   law invasion of privacy). Thus, the balance of the equities strongly favors a temporary restraining

   order and preliminary injunction.



      D. The Public Interest Is Served by a Preliminary Injunction.

          Congress expressed a public policy against non-consensual sharing of intimate images in

   enacting 15 U.S.C. § 6851(b)(1)(A), so it is clearly in the public’s interest to issue the TRO

   ordering Defendant not to engage in such activity. “The public has a strong interest in preventing

   the nonconsensual dissemination of another's intimate visual images, ‘as evidenced by Congress's

   careful and explicit creation of this statutory cause of action to protect persons from this insidious

   form of harassment.’” See Diaz, 2024 U.S. Dist. LEXIS 238107, at *9, (quoting Doe, 2024 U.S.

   Dist. LEXIS 130253, *10-12 (finding injunction in public interest for several reasons, including

   that 15 U.S.C. § 6851(b)(3)(A) “expressly contemplates the issuance of injunctive relief”)). See

   also Brecka, 2024 U.S. Dist. LEXIS 52864, at *8 (public interest served by preliminary injunction

   based on alleged violations of Fla. Stat. § 540.08 and common law invasion of privacy).

              II.     THE COURT SHOULD REQUIRE MINIMAL OR NO SECURITY

          Finally, the Court should, in its discretion, require Plaintiff to post a de minimis security

   in connection with the issuance of a TRO and preliminary injunction, or waive security entirely.

   Fed. R. Civ. P. 65(c) states that a preliminary injunction or temporary restraining order requires

   the movant to give security “in an amount that the court considers proper to pay the costs and

   damages sustained by any party found to have been wrongfully enjoined or restrained.” However,

   courts have discretion to waive this requirement in appropriate cases. See BellSouth Telecomms.,

   Inc. v. MCImetro Access Transmission Servs., Ltd. Liab. Co., 425 F.3d 964, 970-71 (11th Cir.

   2005). For example, “it is well-established that the amount of security required by the rule is a
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 24 of 26

   DOE v BONNELL II
   Case No: 1:25-cv-20757-JB/Torres
   Page 24

   matter within the discretion of the trial court and the court may elect to require no security at all.”

   Courthouse News Serv. v. Forman, 606 F. Supp. 3d 1200, 1227 (N.D. Fla. 2022) (quoting

   BellSouth Telecomms., Inc. v. MCImetro Access Transmission Servs., 425 F. 3d 964, 971 (11th

   Cir. 2005). Moreover, courts may set the security at a de minimis value or waive it altogether

   where the defendant does not provide any evidence of damages that would arise from wrongfully

   granting the injunctive relief. See Sapphire Consulting Servs. LLC v. Anderson, 2021 U.S. Dist.

   LEXIS 54101, at *16-17 (M.D. Fla. Feb. 12, 2021). See also, Doe v. Alame, No. 3:25-CV-0329-

   B, 2025 U.S. Dist. LEXIS 40559, at *12 (N.D. Tex. Feb. 24, 2025)(granting TRO in CARDII

   claim and waiving any bond because the order “only requires that Alame abide by the law, the

   risk of harm is low).

           Here, Defendant has not demonstrated and cannot demonstrate any damage that might

   come to him if the injunctive relief is improperly granted. There is no monetary penalty which

   might come to him because of not being allowed to disseminate the videos and Private Messages.

   Accordingly, security should be set at a de minimis value or waived entirely.

                                             CONCLUSION

           For the foregoing reasons, Plaintiff Jane Doe respectfully requests a temporary restraining

   order pending the issuance of a preliminary injunction. Plaintiff seeks an order (1) enjoining

   Defendant Bonnell from sharing, publishing, or transmitting, whether directly or indirectly, the

   Videos and/or Private Messages; (2) compelling him to remove all publications of Plaintiff’s

   Private Messages and private information from all forms of public media he controls either

   directly or indirectly; (3) ordering Defendant to cease and desist from destroying evidence, and

   compelling Defendant to retrieve all messages that he deleted, and preserve all discoverable

   evidence, that is in any way related to this case, or that could prove any non-consensual
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 25 of 26

   DOE v BONNELL II
   Case No: 1:25-cv-20757-JB/Torres
   Page 25

   disclosures, from his phones, computers, tablets, online accounts and platforms, or any other

   devices, and preserve all internet routers or other hardware in their current form or image so they

   may be searched for information relevant to this action, or be at risk of an order of spoilation; (4)

   compel Defendant to direct third parties, including Kiwifarms, https://notfans.com,

   https://thothub.cam, pornbiz.com, epawg.com, and erome.com., and social media accounts in

   writing to comply with this Order by removing any version of the video containing Plaintiff’s

   image and likenesses from any form of public media under their control; and (5) compelling

   Defendant to attest in a declaration that he has complied with this Court’s order and describe the

   steps he has taken to do so.

          WHEREFORE, Plaintiff’s memorandum brief, exhibits, and federal statutes having been

   considered, Plaintiff prays for the above requested relief to be granted, and Plaintiff further prays

   for such other and general relief as the Court deems necessary and proper.

          Dated: April 3, 2025.
                                          Respectfully submitted,

                                          SANCHEZ-MEDINA, GONZALEZ, QUESADA,
                                          LAGE, GOMEZ & MACHADO, LLP
                                          /s/Carlos A. Garcia Perez
                                          CARLOS A. GARCIA PEREZ
                                          Florida Bar No. 106895
                                          201 Alhambra Circle, Suite 1205
                                          Coral Gables, Florida, 33134
                                          Tel.: (305) 377-1000
                                          Primary E-Mail: cgarciaperez@smgqlaw.com
                                          Secondary E-Mail: angie@smgqlaw.com

                                          JSP LAW, LLC
                                          /s/ Joan Schlump Peters
                                          Joan Schlump Peters (admitted pro hac vice)
                                          4819 W. Blvd. Ct.
                                          Naples, Florida 34103
                                          Tel.: 305-299-4759
                                          Email: petersjoan@bellsouth.net
Case 1:25-cv-20757-JB Document 20 Entered on FLSD Docket 04/03/2025 Page 26 of 26

   DOE v BONNELL II
   Case No: 1:25-cv-20757-JB/Torres
   Page 26



                                  CERTIFICATE OF SERVICE

          I hereby certify that on April 3, 2025, I electronically filed the foregoing document with

   the Clerk of the Court using the CM/ECF filing system and copies were electronically sent to all

   counsel of records via the same.


                                               By: /s/Carlos A. Garcia Perez
                                                       Attorney
